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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 STATE OF FLORIDA,

       Plaintiff,

 v.                                             Case No. 3:21cv1066-TKW-EMT

 UNITED STATES OF AMERICA,
 et al.,

      Defendants.
_________________________________/

                     ORDER DENYING MOTION TO
                SUPPLEMENT ADMINISTRATIVE RECORD

      This case is before the Court based on Florida’s motion to supplement the

administrative record for the parole + ATD policy (Doc. 47). No hearing is

necessary to rule on the motion, and upon due consideration of the motion and its

attachments and Defendants’ response in opposition (Doc. 54), the Court finds that

the motion is due to be denied.

      In this case, Florida challenges two of Defendants’ immigration policies—the

so-called “non-detention policy” and the parole + ATD policy—under the

Administrative Procedure Act (APA) and the Constitution. The administrative

record prepared by Defendants for the parole + ATD policy consists of only 31

pages. Florida believes that the administrative record is incomplete and that it should

be allowed to conduct extra-record discovery to supplement the record. Defendants
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respond that Florida has not made the showing required to supplement the

administrative record or to permit extra-record discovery.

      Judicial review of agency action under the APA is typically limited to the

record before the agency when it took the challenged action. See Fla. Power & Light

Co. v. Lorion, 470 U.S. 729, 743-44 (1985); Pres. Endangered Areas of Cobb’s

History, Inc. v. U.S. Army Corps of Eng’rs, 87 F.3d 1242, 1246 (11th Cir. 1996).

However, the reviewing court may look beyond (and accordingly permit discovery

to supplement) the administrative record provided by the agency in some

circumstances—including “when ‘an agency’s failure to explain its action

effectively frustrates judicial review’ or when ‘there is a strong showing of agency

bad faith or improper behavior.’” Morales v. Comm’r of Soc. Sec., 799 F. App’x

672, 676 (11th Cir. 2020) (quoting Pres. Endangered Areas of Cobb’s History, 87

F.3d at 1246 n.1); see also Marllantas, Inc. v. Rodriguez, 806 F. App’x 864, 867

(11th Cir. 2020) (finding no error in the district court’s decision not to allow

discovery to supplement the administrative record produced by the agency because

the plaintiff did not make “a strong showing of bad faith or improper behavior”);

Ala.-Tombigbee Rivers Coal. v. Kempthorne, 477 F.3d 1250, 1262 (11th Cir. 2007)

(similar); SOSS2, Inc. v. U.S. Army Corps of Eng’rs, 403 F. Supp. 3d 1233, 1239

(M.D. Fla. 2019) (finding that the lack of evidence concerning red tide in the




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administrative record did not frustrate judicial review of whether the omission of an

analysis of red tide constituted an arbitrary and capricious decision).

       Here, it is hard to believe that Defendants adopted an entirely new program

pursuant to which thousands of aliens have been released into the country without

considering more than 31 pages of evidence,1 but a government official has certified

that to be the case. That certification, which was made under penalty of perjury, is

entitled to a presumption of regularity, see Oceana, Inc. v. Ross, 920 F.3d 855, 865

(D.C. Cir. 2019), and, at this point, Florida has not shown that the certification was

made in bad faith or is otherwise improper. Thus, the administrative record for the

ATD + policy is what it is.

       The possibility that the administrative record will not provide an adequate

justification for the parole + ATD policy is not a sufficient reason to authorize

Florida to supplement the record.                Indeed, an inadequate or incomplete

administrative record will presumably work in Florida’s favor because if the parole

+ ATD policy is not sufficiently supported by the record, it will be invalidated. Thus,



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           The paltry size of the administrative record certainly raises the proverbial judicial
eyebrow, see In re United States, 875 F.3d 1200, 1206 (9th Cir. 2017), and is a factor to be
considered in deciding whether to allow extra-record discovery, see NVE, Inc. v. HHS, 436 F.3d
182, 196 (3d Cir. 2006), but the Court agrees with Defendants that “the standard for completeness
of [an administrative record] is not the number of pages, but the contents of those pages.” Doc.
54 at 19; see also Nat’l Min. Ass’n v. Jackson, 2011 WL 9977235, at *4 (D.D.C. Sept. 14, 2011)
(“[T]he size of the administrative record is unimportant. … [T]he amount of material in the record
is insignificant so long as that material enables the Court to review the agencies’ actions and
determine the issues in dispute.”).

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if as Florida argues in its motion, the administrative record omits material

information that was necessary to support the parole + ATD policy, then the policy

will not withstand judicial review.       Likewise, Florida’s argument that the

continuance of the parole + ATD policy cannot be logically squared with the federal

government’s contemporaneous efforts to repeal the “Title 42 Order” goes more to

the merits of Florida’s claims than the adequacy of the administrative record. See

Altamaha Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 2007 WL 1830864, at *3

(S.D. Ga. June 21, 2007) (rejecting plaintiffs’ attempt to supplement the

administrative record because their arguments in favor of doing so did not evince

bad faith, but rather merely “disputed the … decision-making process” and

“repackage[d]” plaintiffs’ APA claims).

      The fact that the Court’s review of the parole + ATD policy under the APA is

limited to the 31-page administrative record does not mean that Florida is precluded

from seeking discovery altogether because, separate and apart from the APA claims,

Florida has alleged that the challenged policies violate the Constitution.        See

Almaklani v. Trump, 444 F. Supp. 3d 425, 432-33 (E.D.N.Y. 2020) (collecting cases

acknowledging a lack of consensus among district courts as to whether additional

discovery is appropriate when a constitutional claim is included along with APA

claims, and ultimately declining to permit extra-record discovery); California v. U.S.

Dep’t of Homeland Sec., 2020 WL 1557424, at *12-16 (N.D. Cal. Apr. 1, 2020)


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(collecting cases and concluding that the APA and constitutional claims constituted

different factual allegations, therefore opening up additional discovery).

Additionally, because Defendants deny the existence of the non-detention policy,2

Florida cannot be constrained by an administrative record as to that alleged policy.

See Nat’l Law Ctr. on Homelessness & Poverty v. U.S. Dep’t of Veterans Affs., 842

F. Supp. 2d 127, 131 (D.D.C. 2012) (“[A]bsent an administrative record constituting

the materials upon which the agenc[y] arrived at some decision … plaintiffs would

likely be entitled to some discovery to enable meaningful judicial review.”).

       Accordingly, for the reasons stated above, it is ORDERED that Florida’s

motion to supplement the administrative record for the parole + ATD policy (Doc.

47) is DENIED.

       DONE and ORDERED this 6th day of June, 2022.

                                                T. Kent Wetherell, II
                                               T. KENT WETHERELL, II
                                               UNITED STATES DISTRICT JUDGE



       2
           Defendants go so far as to describe the non-detention policy as “imaginary,” Doc. 54 at
1 n.1, but that derogatory rhetoric is hard to square with the reality that hundreds of thousands of
aliens have not been detained pending immigration proceedings but rather have been released into
the country on “parole” or otherwise since January 2021. It is also hard to square Defendants’
claim that there is no overriding non-detention policy with the fact that parole decisions are
supposed to be made on a case-by-case assessment of the alien’s individual circumstances (not
just Defendants’ capacity constraints and enforcement priorities) and it would likely be statistically
impossible for hundreds of thousands of “individualized” decisions to come out exactly the same
(i.e., release on parole) by mere happenstance. See Doc. 45 at 24. However, the question of
whether the non-detention policy is real or imaginary goes to the merits of this case, which is not
yet before the Court.

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